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                                                                       The Honorable Tiffany Cartwright
 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 9
     MOZZY CLARK,                                                 No.: 3:24-cv-06058
10
                         Plaintiff,                               STIPULATED DISMISSAL WITH
11                                                                PREJUDICE AND WITHOUT FEES
     v.                                                           OR COSTS AS TO DEFENDANT
12                                                                MICHAEL BROOKS ONLY
     STATE OF WASHINGTON,
13   DEPARTMENT OF
     CORRECTIONS; LT. DENNIS SIMONS;
14   SGT. REGINA WILLIAMS A/K/A
     REGINA ESPERANZA AVELLAR; HEIDI
15   WHITTEMORE; OFFICER THERESA
     AYOTTE; OFFICER MICHAEL BROOKS;
16   and DOES 1-10.
17                       Defendants.
18

19           COME NOW the parties, and each of them, and hereby stipulate and agree pursuant to Fed.

20   R. Civ. P. 41(a)(1)(A)(ii) that all claims against the Defendant, MICHAEL BROOKS, be dismissed

21   with prejudice, and without fees or costs to either party.

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     STIPULATED DISMISSAL WITH PREJUDICE AS                        1           OFFICE OF THE ATTORNEY GENERAL
                                                                                    1250 Pacific Avenue, Suite 105
     TO DEFENDANT MICHAEL BROOKS ONLY                                                      P.O. Box 2317
     No.: 3:24-cv-06058                                                                  Tacoma, WA 98401
                                                                                           (253) 593-5243
          Case 3:24-cv-06058-TMC        Document 34        Filed 02/27/25       Page 2 of 2




 1          DATED this 27th day of February, 2025.
 2    NICHOLAS W. BROWN                              ROBERT A. BOUVATTE, PLLC
 3    Attorney General

 4    /s/ Chad E. Arceneaux                           /s/ Robert A. Bouvatte, Jr.
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10

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16     Special Assistant Attorney General            david@piv4law.com
       Attorney for Defendants Washington State      Attorney for Plaintiff
17     Department of Corrections, Simmons, and
18     Williams

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